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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE:         OIL SPILL by the OIL RIG
                                 *                                 MDL No. 2179
               “DEEPWATER HORIZON” in the
                                 *
               GULF OF MEXICO, on*                                 SECTION J
               APRIL 20, 2010    *
                                 *                                 JUDGE BARBIER
THIS DOCUMENT RELATES:           *                                 MAG. JUDGE SHUSHAN
                                 *
IN RE: TRITON ASSET LEASING GmbH *
Case No. 2:10-cv-02771-CJB-SS    *
                                 *
*********************************

                                            ORDER

       Considering the Motion for Leave to File Limitation Short Form Joinders Beyond the

September 16, 2011 Deadline:

       IT IS ORDERED that the late-filed Short Form Joinders, Document Nos. 118073 and

118072, filed by Movants Ronald James Bazile and Mary Ann Bazile on March 23, 2012 shall be

considered as timely filed claims in the Transocean Limitation (Civil Action No. 10-2771), as well

as properly joined in the B1 and/or B3 Bundle Amended Master Complaints, in accordance with Pre-

Trial Orders Nos. 24 and 25.

       Signed this _____ day of ___________________ 2012.

                                                            _______________________________
                                                            Honorable Carl J. Barbier,
                                                            U.S. District Court Judge
